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Attorney for Plaintiffs

IN THE SUPERIOR COURT FOR THE STATE OF ALASKA

THIRD ;

Erica Tolliver and Wade

Tolliver, individually

and as parents of Terra

Tolliver,
Plaintiffs,
a

First Student, Inc.,
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Defendant. i

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ICIAL DISTRICT AT PALMER

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Case No.

COMPLAINT

'(A.S. § 28.35.045)

COME NOW plaintiffs Erica Tolliver and Wade

Tolliver, individually

through counsel, and For their complaint against defendant

First Student, Inc. al
follows: i

1. Plainti
Alaska, Third Judicial
Tolliver are wife and }
custedians of Terra T9]

2. Defendar

‘
COMPLAINT i
TOLL-PLE.001 1
3PA-17- cl

and as parents of Terra Tolliver,
Lege on information and belief as

ffs are residents of the State of
District. Erica Tolliver and Wade
husband and the parents and legal

liver.

 

EXHIBIT

it First Student, Inc. is a corporation

 

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Case 3:18-cv-00004-HRH Document 1-1 Filed 01/05/18 papece otal of L—
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formed under the laws pf the State of Delaware, with
principal headquarters] in Cincinatti, Ohio, and which does
business in the State pf Alaska.

a: The events complained .of herein occurred
within the Third Judicial District of the State of Alaska.

4. On or around August 27, 2015 plaintiff Erica
Tolliver was ere westbound in a family van on the
Palmer Wasilla Highway] west of Palmer, Alaska in a safe and
lawful manner. Her two-year-old daughter Terra was buckled
in a safety seat in thp seat behind her.

5. School bus driver Samantha MoKown negligently
operated a school bus on behalf of defendant First Student,
ind plaintiffs Erica Tolliver and
. Tolliver slowed and stopped for a
turning left,-Ms. McKown failed to
e bus therefore collided with the

 

 
  
    
  
   
    
   
  
  
  
  
   
 

Inc. on the highway
Terra Tolliver. When
vehicle ahead that was
stop the school bus. |
vehicle driven by Ms.

6. The vel
registered to First S$

7. Ms. Mel
Student, Inc. at the |
while driving the bus;

dent, Inc.

wn was an employee of defendant First
of the collision. Ms. McKown,

was acting within the course and scope
endant First Student, Inc. is

iable for Ms. McKown’s negligence.
vely, Ms. McKown was an independent
mht First Student, Inc. at the time of
dant First Student, Inc. retained

, training and actions of its driver,

of her employment. De
therefore vicariously
8. Alternat
contractor for defen
the collision and def
control over the hirin
including her negligent driving.
COMPLAINT

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9. Defendant had a common law and statutory duty
to plaintiffs to have its driver abide by the driving laws of
the State of Alaska anf thus avoid conduct that would with
reasonable foraseeability result in harm to plaintiffs.

10. Defendant breached its duties to plaintiffs by

 

driving, through its ° rator, in a negligent manner and in
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g laws of the State of Alaska,
ted to A.S. § 28.35.045.

ect and proximate result of

violation of the drivi
including, but not Lit

ll. Asa di

      
   
   
  
       
    
 
   
     

defendant’ s negligence a collision occurred in which
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plaintiffs Erica Tolliver and Terra Tolliver sustained

injuries and which cau ed severe pain and emotional distress.

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Plaintiff Wade Tollive suffered loss of consortium through

the injuries inflicted on his wife and daughter.
12. The p : ose in adopting the driving
regulations defendant,
hazard of the injuries
13. For fai
also liable to plainti
14. Plainti

result of the added fa

i
1}
if

iolated was to prevent or reduce the
plaintiffs suffered.

ing to drive lawfully defendant is
fs on a theory of negligence per se.
f£ Wade Tolliver also lost wages as a
ily care requixed by the injuries to
his family. .
15. plaintites’ damages exceed $100,000, within
the jurisdiction of eds Court.

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WHEREFORE, P
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Court, as follows:

laintiffs pray for relief from this

1. For comppnsatory damages in an amount to be

proved at trial, inclu

Hing past and future medical expenses,

rehabilitational expenses, support for daily living expenses,

loss of enjoyment of 1

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2. For reas

ife, pain and suffering amd lost wages;

bnable attorney's fees and costs of

i"
suit incurred herein;| and

3. For such
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deems proper.

DATED this | 4

COMPLAINT
TOLL-PLE.001
3PA-L7- CL

other and further relief as the Court

D2 day of August 2017.

 

Alaska Bar # 9311096
Attorney for Plaintiffs

 

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